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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

FREEDOM MORTGAGE
CORPORATION,

Plaintiff, EP-22-CV-00226-FM

Vv.

BEATRIZ PORCHER, and THE
UNKNOWN HEIRS AT LAW OF
MARSHALL D. PORCHER (deceased),

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Defendants.
ORDER TO SHOW CAUSE FOR FAILURE TO PROSECUTE

Today, the court considers the status of this case. On June 29, 2022, Plaintiff Freedom
Mortgage Corporation filed its “Original Complaint” [ECF No. 1]. Defendant Beatriz Porcher was
served with summons on July 5, 2022.! To date, Defendant has not filed an answer and Plaintiff
has not moved for an entry of default, Accordingly, it is HEREBY ORDERED that Plaintiff
show cause as to why this case should not be dismissed for failure to prosecute by October 14,
om.

Wt.

SIGNED AND ENTERED this L day of October 2022.

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FRANK MONTALVO
UNITED STATES DISTRICT JUDGE

 

 

1 See “Proof of Service” 1, ECF No. 4, filed Auly 6, 2022.

 

 

 
